Case

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Wayne T. Evans
3262 N. Garey Ave. # 193

A.¢_/~

949-291-2461
Wevans6l @yahoo.com

WAYNE T. EVANS

Defendants.

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IN THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Plaintiff,
STIPULATIoN FOR DISMISSAL
V wITH PREJUDICE 0F
' DEFENDANT sPRlNGLEAF
FINACIAL sERvIcEs
SPRINGLEAF FINANCIAL SERVICES
ET- - -AL, DOES 1-100, inclusive complaint med; JANUARY 20, 2017

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Case No. ED CV 16-01259 (JGB)- C\`
Hon. Otis D. Fitzgerald Wright II

 

 

l Dismissed with Prejudice

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1 IT IS HEREBY STIPULATED by and between Plaintiff Wayne T. Evans
2 (“Plaintifi”) and Defendant SpringLeaf Financial Services. (“SpringLeaf”) that
3 Plaintist claims against_SpringLeaf in the above-captioned action be and
4 hereby are dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the
5 Federal Rules of Civil Procedure. Each party shall bear its own attorneys’ fees
6 and costs incurred herein.
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20 Dated ;16, 2017 % / /// /'“”`
21 Wayne T. Evans
22 Pro Se
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2 Dismissed with Prejudice

 

 

 

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PROOF OF SERVICE_ BY MAIL

p_A

I, Jeffrey Antes, declare as follows:
I am over eighteen (18) years of age and not a party to the within the action. My
business address is 1520 S. Highland Ave Apt B Fullerton, CA 92832.1 served a
copy of the attached Respondent

DISMISSED WITH PREJUDICE_each of the following, by placing a true copy
thereof in asealed envelope With postage fully prepaid, in the United States
mail at Fullerton, California, addressed as follows:

\OO¢\)O'\U\-I>.L»JN

C T Corporation System, Inc.

818 West Seventh St Ste. 930
Los Angeles CA 90017

H¢-a»-
N*_‘O

Each said envelope was then, on January 19 2017 sealed and
deposited in the United States mail at Fullerton, California, in the County
of Orange in which I am employed. I declare, under penalty of perjury of the
laws of the State of California, that the foregoing is true and correct, and that
this Declaration was executed this Mday of January 2017 at Fullerton,
California.

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]effrey Antes

 

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3 Dismissed with Prejudice

 

 

 

